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                                                                       The Honorable Robert S. Lasnik
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           IN THE UNITED DISTRICT COURT, WESTERN DISTRICT OF WASHINGTON
 8                                    SEATTLE
 9   MICHAEL THOMAS,
                                                           Case No. 2:15-cv-01309-RSL
10                  Plaintiff,
                                                           EX PARTE STIPULATED
11          v.                                             MOTION TO EXTEND
                                                           DISCOVERY DEADLINE
12   GREEN TREE LOAN SERVICING LLC,
13                  Defendant(s).
14

15                                              MOTION
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            Pursuant to LCR 7, LCR 10(g), and LCR 16, Defendant Green Tree Servicing LLC
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     (“Green Tree”) moves the court for an Order amending the court’s July 20, 2016 Order Setting
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     Trial Date & Related Dates as follows:
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20          Extending the deadline for Discovery to be completed from October 9, 2016 to the new

21   date of October 31, 2016.

22          All other case schedule deadlines would remain in place.
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                                              DISCUSSION
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            The parties are nearly concluded with the process of exchanging discovery. Counsel for
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     Plaintiff took a deposition of Green Tree’s representative on September 20, 2016. At the
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     deposition, based on the representative’s deposition testimony, counsel for Green Tree agreed to
27
      EX PARTE STIPULATED MOTION TO EXTEND                                HENRY, DEGRAAFF & MCCORMICK, P.S.
      DISCOVERY DEADLINE - 1                                                  1833 N. 105TH ST. SUITE 203
                                                                                   SEATTLE, WA 98133
                                                                                telephone (206) 330-0595
                                                                                   fax 1 (206) 400-7609
               Case 2:15-cv-01309-RSL Document 28 Filed 10/06/16 Page 2 of 2




     produce additional documents as well as an additional corporate witness to comply with topic in
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 2   the Notice of Deposition. The parties have agreed to an additional deposition on October 11,

 3   2016, and to the production of specifically identified additional documents pursuant to an agreed

 4   protective order which has not yet been entered (“agreed-upon Additional Discovery”). The
 5   parties are in the process of scheduling a settlement conference in November.
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            Green Tree’s stipulation to the extension of the discovery deadline is conditioned upon
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     the additional time being used solely to conduct the agreed-upon Additional Discovery. Green
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     Tree reserves the right to object to efforts by Plaintiff to seek discovery other than the agreed-
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10   upon Additional Discovery between October 10, 2016 and October 31, 2016.

11          The requested extensions of the discovery period should not affect the other case

12   deadlines. It is necessary to facilitate a resolution of the case either through settlement or
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     dispositive motions. As a result, the Plaintiff respectfully requests that the case scheduling order
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     be amended to reset the discovery deadline as set forth above.
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            DATED this 6th day of October, 2016.
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18
19          /s/ Jacob DeGraaff__________________________
            By:     Jacob DeGraaff, WSBA #36713
20          HENRY, DEGRAAFF & MCCORMICK, PS
            Attorney for Plaintiff Michael Thomas
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22          /s/ Laurie R. Hager__________________________
            By:     Laurie R. Hager, WSBA #38643
23          Of Attorneys for Defendant Green Tree Servicing LLC

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27
      EX PARTE STIPULATED MOTION TO EXTEND                                    HENRY, DEGRAAFF & MCCORMICK, P.S.
      DISCOVERY DEADLINE - 2                                                      1833 N. 105TH ST. SUITE 203
                                                                                       SEATTLE, WA 98133
                                                                                    telephone (206) 330-0595
                                                                                       fax 1 (206) 400-7609
